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6                IN THE UNITED STATES DISTRICT COURT FOR THE

7                       EASTERN DISTRICT OF CALIFORNIA

8

9    UNITED STATES OF AMERICA,        )        No. CR-F-96-5113 OWW
                                      )
10                                    )        ORDER DENYING "NOTICE OF
                                      )        PLAIN ERROR AND MOTION TO
11                    Plaintiff/      )        REVIEW UNDER WHICHEVER RULE
                      Respondent,     )        OR STATUTE COURT DEEMS
12                                    )        PROPER OR PURSUANT TO 18
                vs.                   )        U.S.C. § 3742(a)(1)(2)(3)"
13                                    )
                                      )
14   JORGE VALENCIA-LOPEZ,            )
                                      )
15                                    )
                      Defendant/      )
16                    Movant.         )
                                      )
17                                    )

18        Movant Jorge Valencia-Lopez was convicted by jury trial of

19   conspiracy to manufacture methamphetamine and of possession of

20   methamphetamine with the intent to distribute.         Movant was

21   sentenced to life imprisonment.      Movant appealed to the Ninth

22   Circuit.   The Ninth Circuit affirmed movant’s conviction but

23   vacated his sentence and remanded for resentencing.         Upon remand,

24   movant was sentenced on October 10, 2000 to 262 months

25   imprisonment.    Movant did not further appeal his sentence.

26        On January 11, 2006, movant filed a “Notice of Plain Error

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1    and Motion to Review Under Whichever Rule or Statute Court Deems

2    Proper or Pursuant to 18 U.S.C. § 3742(a)(1)(2)(3)”.          In this

3    motion, movant contends that his conviction and sentence are

4    unconstitutional because of the Supreme Court’s decisions in

5    United States v. Booker, 543 U.S. 200 (2005), Blakely v.

6    Washington, 542 U.S. 296 (2004), and Apprendi v. New Jersey, 530

7    U.S. 466 (2000).

8         In his motion, movant suggests that he is entitled to relief

9    pursuant to 28 U.S.C. § 2255 and that, therefore, his motion may

10   be deemed to be a motion to vacate, set aside or correct sentence

11   pursuant to Section 2255.     However, neither Booker, Blakely, nor

12   Apprendi are retroactively applicable on collateral review.             See

13   United States v. Cruz, 423 F.3d 1119 (9th Cir. 2005); Schardt v.

14   Payne, 414 F.3d 1025 (9th Cir. 2005); United States v. Sanchez-

15   Cervantes, 282 F.3d 664 (9th Cir.), cert. denied, 537 U.S. 939

16   (2002).   Therefore, deeming movant’s motion to be a Section 2255

17   motion is futile because movant is not entitled to relief under

18   Section 2255.

19        Movant further suggests that he is entitled to relief

20   pursuant to Rule 60(b), Federal Rules of Civil Procedure,

21   contending that an irregularity in the judgment of movant’s

22   previous Section 2255 motion can be found.        However, there is no

23   record on the dockets of the United States District Court for the

24   Eastern District of California that movant ever previously filed

25   a Section 2255 motion.    Therefore, movant’s motion cannot be

26   deemed to be a motion pursuant to Rule 60(b).

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1         Movant further suggests that jurisdiction to consider the

2    claims raised in this motion lies with Rule 52(b), Federal Rules

3    of Criminal Procedure.1     Movant’s reference to Rule 52(b) is

4    without merit.     Rule 52(b) does not contain a procedural

5    mechanism that can be used to challenge the validity of, or

6    correct errors in a conviction or sentence.        Rather, Rule 52(b)

7    sets forth a standard to be used by courts in reviewing claims of

8    error.     See United States v. Bentley, 220 F.R.D. 447 (W.D.N.C.),

9    aff’d, 54 Fed.Appx. 146 (4th Cir. 2002).       Furthermore, as noted

10   supra, movant cannot proceed to obtain collateral relief because

11   the decisions upon which his claims are based are not applicable

12   on collateral review.

13        Movant’s reference to 18 U.S.C. § 3742 as providing

14   jurisdiction to consider movant’s claims is unavailing.             Section

15   3742 pertains to a direct appeal from a sentence imposed by the

16   district court.

17        Movant asserts that if it is determined that movant is not

18   entitled to relief, the instant motion should be referred to the

19   Ninth Circuit Court of Appeals sua sponte “requesting the court

20   review for leave to file a 2nd or successive § 2255 motion.”            In

21   so asserting, movant refers to Rule 22, Federal Rules of

22   Appellate Procedure.     Movant’s assertion is without merit.         As

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              Rule 52(b), Federal Rules of Criminal Procedure, provides:
25                A plain error that affects the substantial
                  rights may be considered even though it was
26                not brought to the court’s attention.

                                         3
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1    noted, movant has not previously filed a Section 2255 motion.

2    Therefore, movant’s reference to a second or successive Section

3    2255 motion is incorrect.     Furthermore, in pertinent part, Rule

4    22 pertains to issuance of a certificate of appealability in

5    connection with an order resolving a Section 2255 motion and a

6    determination by the district court whether or not to issue a

7    certificate of appealability only arises if a notice of appeal is

8    filed by the party moving for relief pursuant to Section 2255.

9         ACCORDINGLY:

10        1.   Movant Jorge Valencia-Lopez’s “Notice of Plain Error and

11   Motion to Review Under Whichever Rule or Statute Court Deems

12   Proper or Pursuant to 18 U.S.C. § 3742(a)(1)(2)(3)” is denied.

13        Dated: _Feb. 3____, 2006

14                                           /s/ OLIVER W. WANGER

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16                                                 OLIVER W. WANGER

17                                           UNITED STATES DISTRICT JUDGE

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